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17                                                       Attorneys for Defendant Sonos, Inc.

18
                                   UNITED STATES DISTRICT COURT
19                               NORTHERN DISTRICT OF CALIFORNIA
                                      SAN FRANCISCO DIVISION
20
21   GOOGLE LLC,
                                                          Civil Action No. 3:20-CV-03845-EMC
22                  Plaintiff,
                                                          JOINT STATUS REPORT
23                          v.                            PURSUANT TO DKT. 229
24   SONOS, INC.,                                         Date: November 5, 2024
                                                          Time: 2:30 p.m.
25                                                        Ctrm: Courtroom 5, 17th Floor
                    Defendants.                                  450 Golden Gate Avenue,
26                                                               San Francisco, CA 94102
                                                          Judge: Hon. Edward M. Chen
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28                                                        JURY TRIAL DEMANDED


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 1                                          INTRODUCTION

 2          Pursuant to this Court’s October 3, 2024 Notice (D.I. 229), the Standing Order for All Judges

 3 of the Northern District of California, and Civil Local Rule 16-9, Plaintiff Google LLC (“Google”)

 4 and Defendant Sonos, Inc. (“Sonos”) submit this Joint Status Report.

 5 I.       IPR STATUS:
 6          On November 3, 2022, the PTO issued a final written decision on the ’375 patent in Inter

 7 Partes Review No. IPR2021-00962, finding claims 1–11 and 13–20 invalid. The PTO found all

 8 claims asserted in this case invalid for the ’375 patent. On October 6, 2022, the PTO issued a final
 9 written decision on the ’586 patent in Inter Partes Review No. IPR2021-00964, finding claims 1–

10 5, 7–12, 14–16, 18, and 20 invalid. The PTO found all claims asserted in this case invalid for the

11 ’586 patent. The PTO’s judgments were affirmed by the Federal Circuit in May 2024 (for the ’586

12 patent) and June 2024 (for the ’375 patent).

13 II.      MOTION ON THE PLEADINGS:

14          On December 1, 2021, Sonos filed a motion for judgment on the pleadings for ineligibility

15 of the ’375 patent under 35 U.S.C. § 101. (D.I. 127.) Pursuant to the parties’ stipulation and the

16 Court’s December 22, 2021 Order (D.I. 136), the briefing schedule on Sonos’ Motion for Judgment

17 (D.I. 127) was suspended, the hearing on the motion was deferred, and the parties were ordered to

18 file a joint stipulation proposing a new briefing schedule and hearing date on the motion within one

19 week of entry of any Order lifting a stay of proceedings as to the ’375 patent.

20 III.     GOOGLE’S POSITION ON THE SCHEDULE GOING FORWARD:
21          The Court should enter final judgment. The Court’s October 2, 2024 Order granting Sonos’s

22 motion for summary judgment of non-infringement of the ’187 patent resolved the last remaining

23 issue in this case. The asserted claims of the ’375 patent and ’586 patent have already been found
24 invalid and cancelled by the PTO. Sonos’s motion for judgment on the pleadings for dismissal of

25 the ’375 patent under 35 U.S.C. § 101 (D.I. 127) should be denied as moot as the asserted claims

26 are already cancelled.

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 1 IV.      SONOS’S POSITION ON THE SCHEDULE GOING FORWARD:

 2          The Court should enter final judgment against Google’s non-dismissed claims for relief

 3 against Sonos in this case.

 4          Google asserted in its operative Complaint (Dkt. 35) five causes of action consisting of

 5 claims of infringement of five patents: the ’187 patent, the ’489 patent, the ’375 patent, the ’206
 6 patent, and the ’586 patent. The Court dismissed Google’s two causes of action of infringement

 7 related to the ’489 patent and ’206 patent long ago. On November 2, 2020, the Court granted

 8 Sonos’s motion to dismiss Google’s second cause of action pursuant to Fed. R. Civ. P. 12(b)(6) and
 9 35 U.S.C. § 101 (Dkt. 39) after finding that the ’489 patent is unpatentable. Dkt. 60. On June 3,

10 2021, the Court ordered a stipulation by the parties that Google’s claims of infringement of the ’206

11 patent be dismissed with prejudice and Sonos’s defenses related to the ’206 patent be dismissed

12 without prejudice. Dkt. 107.

13          The Court’s October 2, 2024, Order granting Sonos’s motion for summary judgment of non-

14 infringement of the ’187 patent resolved the last remaining issue in this case. The asserted claims

15 of the ’375 patent and ’586 patent have already been found invalid and cancelled by the PTO.

16 Sonos’s motion for judgment on the pleadings for dismissal of the ’375 patent under 35 U.S.C. § 101

17 (D.I. 127) should be denied as moot as the asserted claims are already cancelled. The Court should

18 enter final judgment against Google’s non-dismissed claims: Google’s First Cause of Action of

19 Infringement of the ’187 patent, Third Cause of Action of Infringement of the ’375 patent, and Fifth

20 Cause of Action of Infringement of the ’586 patent.
21          The Court should dismiss, without prejudice, Sonos’s claims for relief against Google in this

22 case.

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1          Respectfully submitted,

2    Dated: October 16, 2024                         Respectfully submitted,

3    /s/ Patrick Curran                              /s/ Alyssa Caridis
     Patrick Curran                                  Alyssa Caridis
4    Attorneys for GOOGLE LLC                        Attorneys for SONOS INC.

5    QUINN EMANUEL URQUHART &                        ORRICK, HERRINGTON & SUTCLIFFE
     SULLIVAN, LLP                                   LLP
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7    Counsel for Plaintiff Google LLC                Counsel for Defendant Sonos Inc.
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1                                       ECF ATTESTATION

2         I, Patrick Curran, am the ECF User whose ID and password are being used to file this JOINT

3 CASE MANAGEMENT STATEMENT. In compliance with General Order 45, X.B., I hereby attest

4 that Counsel for Sonos has concurred in this filing.

5    Dated: October 16, 2024
                                                           By: /s/ Patrick Curran
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                                            JOINT STATUS REPORT
